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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                COVINGTON DIVISION


STATE OF TENNESSEE, et al.,

Plaintiffs,

and                                              Case No. 2:24-cv-00072-DCR-CJS
                                                 District Judge Danny C. Reeves
CHRISTIAN EDUCATORS ASSOCIATION                  Magistrate Judge Candace J. Smith
INTERNATIONAL, et al.,

               Intervenor-Plaintiffs,

        v.

MIGUEL CARDONA, in his official capacity
as Secretary of Education, and UNITED
STATES DEPARTMENT OF EDUCATION,

               Defendants.


                    DECLARATION OF VANESSA SANTOS KREJCI


  1. I, Vanessa Santos Krejci, am the Assistant General Counsel of the Division of

       Educational Equity (DEE) in the Office of the General Counsel (OGC), U.S. Department

       of Education (Department).

  2. In July 2022, the Department issued the Notice of Proposed Rulemaking (NPRM) and

       received over 240,000 public comments. After review and consideration of the public

       comments, the Department published Nondiscrimination on the Basis of Sex in Education

       Programs or Activities Receiving Federal Financial Assistance, 89 Fed. Reg. 33,474 (Apr.

       29, 2024) (“the Rule”).
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  3. More than 125 individuals within the Department assisted in the development and/or

     review of the NPRM and Rule. This includes employees within the Department’s Office

     for Civil Rights (OCR) as well as staff in other program offices within the Department. In

     addition, OCR engaged with a contractor to review and categorize the over 240,000

     public comments and engaged with the Department of Justice, the Office of Management

     and Budget, and other Federal agencies to review and finalize both the NPRM and Rule.

  4. I am assisting the team within OGC, which is described in detail below, with the

     compilation of the administrative record for the Rule.

  5. We began this work in March 2024 prior to the publication of the Rule.

  6. This work consists of compiling the public comments and the sources cited in the NPRM

     and Rule, which include but are not limited to cases, studies, and articles. It also includes

     identifying any other documents directly or indirectly considered by the decisionmakers

     in the development of the Rule. This information encompasses over 3 years of cross-

     collaborative work and communications, internal and external to the Department, that

     facilitated the development of the Rule.

  7. The Department has identified approximately 700,000 documents that may be

     appropriate to include in the administrative record.

  8. Before these documents are produced, they must be reviewed for, among other things,

     duplication and privilege.

  9. To date the team has reviewed approximately 150,000 of the 700,000 documents.

  10. To assemble the team for this project, we assigned certain attorneys within DEE and

     canvassed over 120 employees within OGC for additional attorneys with available time

     to assist. Due to the numerous, competing demands on OGC’s limited resources, we
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        have been unable to assign more attorneys to work on this project. We also enlisted the

        assistance of staff from OCR to assist for a limited time. Wherever possible, we selected

        attorneys who were familiar with Title IX. As a result, we were able to assemble a team

        of 15 attorneys.

    11. The team has limited time to devote to this project given their other work and

        responsibilities. Only two attorneys on the team are able to work on this project 80% to

        90% of their time. Several of the same attorneys working on the administrative record are

        also engaged in this and the nine other lawsuits challenging the Rule. 1 Other attorneys

        have been pulled from different divisions within OGC and are only able to work on this

        project when their other duties permit. Their other duties are core to the Department’s

        work, including reviewing Department guidance documents and regulations, assisting

        with litigation, and advising on grant programs. Those attorneys’ time on the

        administrative record has varied on a weekly basis, with attorneys dedicating between

        10% to 75% of their time to this project as feasible.

    12. Once the review is complete, the information for the administrative record will be

        transferred to Relativity for production. We have a contract with Relativity for this

        purpose, and they will assist with bates numbering, generating an index, and ultimately

        providing the record to plaintiffs in this litigation. This process, however, will take time

        for the contractor particularly given the expected size of this record.



1
 See Texas v. United States, No. 2:24-cv-86 (N.D. Tex. filed Apr. 29, 2024); Alabama v. Cardona, No. 7:24-cv-533
(N.D. Ala. filed Apr. 29, 2024); Louisiana v. U.S. Dep’t of Educ., 3:24-cv-563 (W.D. La. filed Apr. 29, 2024);
Rapides Parish Sch. Bd. v. U.S. Dep’t of Educ., 1:24-cv-567 (W.D. La. filed Apr. 30, 2024); Tennessee v. Cardona,
No. 2:24-cv-72 (E.D. Ky. filed Apr. 30, 2024); Oklahoma State Dep’t of Educ. v. United States, No. 5:24-cv-459
(W.D. Okla. filed May 6, 2024); Oklahoma v. Cardona, No. 5:24-cv-461 (W.D. Okla. filed May 6, 2024); Kansas v.
U.S. Dep’t of Educ., No. 5:24-cv-4041 (D. Kan. filed May 14, 2024); Carroll Indep. Sch. Dist. v. U.S. Dep’t of
Educ., No. 4:24-cv-461 (N.D. Tex. filed May 21, 2024).
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  13. I have engaged with our contractor for Relativity to set up folders within that workspace

     to store all the information identified for the administrative record. Once the information

     is transferred to Relativity, it will then need to be reviewed again and indexed for the

     final production. This includes a review by legal counsel to ensure the record is correct

     and complete, which may involve additional, shorter rounds of document collection and

     review.

  14. Based on the volume of documents to be reviewed and the limited number and time of

     the attorneys for this project, I anticipate being able to finalize production for the

     administrative record by September 20, 2024. This estimate is our best guess at this time

     that it will take at least nine weeks to review the remaining documents, and then at least

     two weeks to review and process them within Relativity. We have reached these

     estimates based on the time it has taken the team to review 150,000 documents thus far,

     as well as the number and type of documents remaining. However, as noted above, it is

     difficult to predict how many hours per week many of the attorneys on our team will be

     able to spend on this project given competing demands on their time. We have also

     accounted for the additional time that will be needed for quality control review and then

     added the processing estimate we received from the contractor for Relativity to that

     estimate.

  Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the foregoing is true and

  correct. Executed on July 3, 2024.

                               Digitally signed by Vanessa S.
     Vanessa S. Krejci Krejci
                       Date: 2024.07.08 18:21:26 -04'00'
     _________________________________
     Vanessa Santos Krejci
     Assistant General Counsel, Division of Educational Equity
